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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case




             UNITED STATES OF AMERICA
                               v.
                   EDGAR ALMONTE (3)
                                                                           Case Number:         15CR0896-BAS

                                                                        ANTHONY EDWARD COLOMBO (3)
                                                                        Defendant's Attorney
REGISTRATION NO.                  44310298
 o ­
 ~   pleaded guilty to count(s)       TWO (2) OF THE INFORMATION

 o was found guilty on count(s)
     after a plea of not ~uilty.           .                 .. . . .  .      .....     .. .      .
 Accordingly, the defendant is adjudged guilty of such count(s), which involve the following ofIense(s):
                                                                                                                                 Count
 Title & Section                    Nature of Offense·              .                                                           Numberfsl
 21 USC 846, 841(a)(I)              CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                        2
 AND 18USC2




      The defendant is sentenced as provided in pages 2 through .                  4           ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act ofl984.·
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                    is              dismissed on the motion of the United States.
                 ---------------------------
 ~     Assessment: $100.00



 ~     No fine                 0 Forfeiture pursuant to order filed                                                  , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, .the. defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                        AUGUST 24. 2015
                                                                        Oate ofIm"",ition of ~


                                                                         HON.~ASHANT.
                                                                         UNITED STATES DISTRICT JUDGE



                                                                                                                                15CR0896-BAS
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DEFENDANT:                EDGAR ALMONTE (3)                                                        Judgment· Page 2 of 4
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                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 THIRTY SEVEN (37) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN THE
       WESTERN REGION.
       THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
       AND ALCOHOL PROGRAM (RDAP)

  o     The defendant is remanded to the custody of the United States Marshal.

  o     The defendant shall surrender to the United States Marshal for this district:
        o    at
                  ---------------------------- A.M.·           on
        o    as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  o     Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
  I have executed this judgment as follows:

        Defendant delivered on                    to
              ----------------------~---------        ~---------------------------
  at __________--,-_, with a certified copy of this judgment.


                                                                    UNITED STATES MARSHAL


                                       By                    DEPUTY UNITED· STATES MARSHAL


                                                                                                        15CR0896·BAS
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on .the court's determination that the defendant poses a low risk of future
o substance       abuse. (Check, if applicable.)                                              .
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 uSC section 3583(a)(7) and 3583(d)..
       The defendant shall comply with the.requirements ofthe Sex Offerider Registration and Notitication Act (42 U.S.C. § 16901, et
 o seq.) as directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted ofaqualifying offense. (Check if applicable.)
 o The defendant shall participate in an approved program for.doIllestic violence. (Check if applicable.)
          If this judgment imposes a tine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such tine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.                   .
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a IIlIIIlner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probatiOIl:officer for schooling, training, or other acceptable
         reasons;                                                     . .                             .
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances. are illegally sold, used, distributed, or administered;
     9) the defendant Shall not associate with any persons engaged in crii:ninal activity and shall not associate with any person convicted of a felony,
          unless granted pennission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;         ..            •. . .                    .
     11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as ali informer ora special agent of a law enforcement agency without the pennission of
          the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall permit the probation officer to make such notifications and to confinn the defendant's compliance
          with such notification r e q u i r e m e n t . ·                                                                  .



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                               SPECIAL CONDITIONS OF SUPERVISION

       1. Not enter or reside in the Republic of Mexico without pennission of the court or probation officer.

       2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch
          testing and counseling, as directed by the probation officer. Allow for reciprocal release of
          infonnation between the probation officer and the treatment provider. May be required to contribute
          to the costs of services rendered in an amount to be detennined by the probation officer, based on
          ability to pay.


       3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

       4. Submit your person, property, resideIlce, office or vehicle to a search, conducted by a United States
          Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
          of contraband or evidence of a violation of a condition of release; failure to submit to a search may
          be grounds for revocation; the defendant shall warn any other residents that the premises may be
          subject to searches pursuant to this conditi~n.



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